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                                      IN THE UNITED STATES DISTRICT COURT r---c.-~:.·'0-;;~~"<, (.~·-.·"·:::-------·-··
                                      FOR THE NORTHERN DISTRICT OF TEXAS       NORTfiER~NDJSL<.lCTOF f'EX/1.S
                                                DALLAS DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
v.                                                         §    CASE NO.: 3:11-CR-
                                                           §
JASON ALLEN NEFF (1)                                       §


                                         REPORT AND RECOMMENDATION
                                                                                                                              I
                                                                                                                              j



                                          CONCERNING PLEA OF GUILTY

         JASON ALLEN NEFF, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) Counts One and Two of
the Indictment After cautioning and examining JASON ALLEN NEFF under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged
are supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that JASON ALLEN NEFF be adjudged guilty of 18 U.S.C. § 2,
Aiding and Abetting the Conspiracy to Use Access Devices to Modify Telecommunications Instruments and to Make
Unauthorized Access to Protected Telecommunications Computers; and 18 U.S.C. § 1513(b)(2), Obstruction by
Retaliating Against a Witness, Victim, or an Informant, and have sentence imposed accordingly. After being found guilty
of t~ffense by the district judge,

{;('     The defendant is currently in custody and should be ordered to remain in custody.

D        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
         convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
         if released.

         D       The Government does not oppose release.
         D       The defendant has been compliant with the current conditions of release.
         D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                 other person or the community if released and should therefore be released under § 3142(b) or (c).

         D       The Government opposes release.
         D       The defendant has not been compliant with the conditions of release.
         D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                 Government.

D        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
         substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
         recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
         under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
         evidence that the defendant is not likely to flee or pose a danger to an ~ mmunity if released.

Date:
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Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(l)(B).
